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                UNITED STATES GOVERNMENT
                NATIONAL LABOR RELATIONS BOARD
                REGION 3                                               Agency Website: www.nlrb.gov
                130 S Elmwood Ave Ste 630                              Telephone: (716)551-4931
                Buffalo, NY 14202-2465                                 Fax: (716)551-4972




                                               September 8, 2023

VIA ECF

Hon. John Sinatra, Jr.
United States District Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202
                                                Re:     Leslie ex rel. NLRB v. Starbucks Corporation,
                                                        No. 1:22-cv-00478 (JLS)

Dear Judge Sinatra:

Regional Director Linda M. Leslie (“Director”) respectfully responds to the Court’s order [ECF No
137] addressing how to proceed with respect to Starbucks’ counterclaim. The Director is of the view
that any further proceedings regarding the counterclaim should be held in abeyance pending the
Second Circuit’s decision regarding the dismissal of the Section 10(j) Petition. The Second Circuit
will decide key legal issues also raised by the counterclaim, including whether attempts to enjoin or
control separate NLRB proceedings are permissible under constitutional principles of separation of
powers and statutory limits on this Court’s jurisdiction, as well whether Starbucks’ subpoenas should
have been quashed or further limited.

Should you decline to stay this matter, we note that in order to obtain the relief Starbucks requests,
the Board members themselves and the Board’s General Counsel would be indispensable parties
under Rule 19 of the Federal Rules of Civil Procedure. Accordingly, in addition to whatever
defenses the Regional Director may present under Rule 12, she would seek dismissal pursuant to
Fed. R. Civ. P. 12(b)(7) if these parties were not joined as defendants. As previously noted to the
Court, the Regional Director has no unilateral authority to stop or dismiss the Guess? proceeding at
this point. See ECF No 134. The Board members and General Counsel have distinct and
independent statutory functions not delegated to the Director when, as here, she acts pursuant to an
authorization to pursue Section 10(j) relief (which is why the Petitioner previously noted that
counterclaims are unavailable in such cases) [ECF No. 117 at 14; ECF No. 131 at 2, 10-11].

Moreover, we would renew our request [ECF No. 129] that any responsive pleadings or Rule 12
motions be due no less than 30 days after Starbucks perfects service of summons and complaint on
all additional necessary defendants.
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                                                   Respectfully submitted,
                                                   DAWN L. GOLDSTEIN
                                                   Deputy Associate General Counsel

                                                   PAUL A. THOMAS
                                                   Supervisory Attorney

                                                   s/ David P. Boehm
                                                   DAVID P. BOEHM
                                                   Trial Attorney (D.C. Bar 1033755)

                                                   National Labor Relations Board
                                                   1015 Half Steet, S.E.
                                                   Washington, D.C. 20003
                                                   (202) 273-4202
                                                   david.boehm@nlrb.gov


cc: Parties and amicus via ECF and email
